Case 8:23-cr-00100-CJC Document 97-5 Filed 04/02/24 Page1of42 Page ID #:753

(sy

*.. Cellebrite
Extraction Report - Apple iPhone www.cellebrite.com

Participants

gy Chance Brannon’ (owner)

Conversation - Instant Messages (927)

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Laren t(el) ora) BTV te) nto] mW =|

| Os pre lale om =r 18 ale) a) PLU}

BS) 10 Loam ear

RIPA(PAVR EMORY Md (OOo A)

Source Extraction:
File System (2)
Source |

ce Info:
EXTRACTION_FFS .zip/root/private/var/mobile/Library/SMS/sms.db : 0x1FA1509 (Table: message, handle; Size: 52322304 bytes)

103
Case 8:23-cr-00100-CJC Document 97-5
Soma oh

makes ban tam (6) 7038)
Koya

cei aie

a Keyan eaa=lale=at =) tee (enn 8119)

EAN Alaeicr- le elm lnilitecl(ale Migr4-1 ce met laMmal-\-e mol el—)
TavilitceliiareMiL¢-mcveleleat-leam ele) (-1anvm- Wme—1al(-lme|col8| ola l ale |
Salis

lee Cel] or ]a BV rr} N10 Rw C=) =|

a RIPT EPA)
(Gare laos) F- 181818) 0) F

(PLO E oOo cren (On RCTs)

NN at=\eeifolel(e Melb Mo leMejalex—mrceoleMlaliiiic- 1x6]

Lage 1 t(er) oye a1 By Voce Latcr=[e} Lad Ce \ =|
IPE PLUP

ts OY mi Lo)
dN (On Oey A)

RIPAEPLUV Re Oy om Lom ad (On kena)

Source Extraction:
File System (2)
Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x1FA125D (Table:
message, handle; Size: 52322304 bytes)

mie jie
Kea PRCUiCe Aoi bee em Ce) n ati 8)

ic mal—t-1e Com 00) exe) Beall Mata pene) ¢- 16-1 (el- 1 COM (NU 1am tal -Wel- 11-119)
J-Ige)Co)aliame)m(nl-m-\Vi-16-[e|-m-[pa 1g er- 1)

legen (el] oye a1 Boone]

| G5 ar-|aler=m =) r-18 ale) 8) i}
Oy fe.

aN OR Kenra)

Bo) LM aor]
KPa E PAUP Oy orl 0 od) (ON k Oma)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x1FA2F83 (Table: message, handle; Size: 52322304 bytes)

104
of 42 Page ID #:768

SNe)

koe

a ie)en Regi lal em 1k le Neem LA 18)
ket aed
y Roe ease male lela edn Lt)

Ela AN alai(y- le elm lalilite-leale muy r-<- 10 Mell- 1a mal -1-rom CoM ol-Mlalilite-itlarem iL<-m-volelial—1gam ole) 180
I Wvmet—1a) (lke | ce]0) o\-e- lave B-Jal i

ler= geet) ore lalt BS Tie E mca]

I ©} r= laleom =i lal) a)

BS) | NL acre |
RPL EPLUR Ene) ad COR O=r a)

ime le) neal dale) mest-|ele)-le|-e-Jaliom melolamae-r-] im (alehnmsleyim (al e-)ali mes. mant-\y ellie -t-[e- Melr-|
Heat- lal t=] elmo) anl-liallare]

Lez= la t(er| orc] a1 By IWr-10} ater= [| aN i=]

| 1@5 are late om =i r-l8a ley) IPA E PAUP)
tsa Osa Oa)

BS) 10a oor]
Eo ON
IPAS PLY e Oem oon od \') (CNR Omr a!

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x1FA2C87 (Table: message, handle; Size: 52322304 bytes)

cee am (e)Wial= 8)
aoe

ToS al-\-L0 Bh Coll g-T-1 (Moree at-1el6 Hag

Lexel ECC] erclalg BTS opr) etcr-e} Lede \is18|
KPA E PLOY
fea Os bas ha)
dU (On kenrg)

IPAs PAUP m Ooo Loe aa | On Ora)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x1FA29CA (Table:
message, handle; Size: 52322304 bytes)

105
of 42 Page ID #:769

mie)iy ed
ain ease laeem =) Lene C1

IVE Wiel-melU) Mm calial @hial- yew lig-r- le hVmelelalat- melon at-la-larel ol-fe)e) (M1 | Ua —1-] mele mem alm el- linn me) mca)
fefey-Wealenl-almar-lale,

legate) ofc a BIST re| md tN ise}

| 1@5 arelaleom oi r= 181 ale) 8)

BS) r= 0 Loam sore
KPa spt Meade Lol ad (ORR Ona!

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x1FA276F (Table: message, handle; Size: 52322304 bytes)

SMa) hY
ce) p eed am (oy Vint =8)
iene

ace iieed

oye ec uleoeaie-llnelem conn in 8)

aie AL AN alai(r- (ome) anilite- Luise Muur-<-|eemelt-|al-M mal-\-10 Mm omel—Mialili(r-lilalem ILC)
olU) (allan ele" eVm(- Wime—ia) ime [cele] ecw] ale Jari

Lee a t(ei) os21 0 DI iVcigere} ator 18) iad (=x |

ot 1@5 are 1aler IPA PALPX)
1S )e- ape) a tse eens
mi ennen

RIPAEPLUP Melo ecroe a (OR ROrT®)

1 aT-\V- Mat] g0 Meco) ome) m ia) -Mol-i-me-1- ole) (e[-Menl- [ale (-] Mielec lala

lee |pt(e| oye a) BION r-Te] itt aN ie)

PPE ne nat)
aN Ul Keea)

RIPE PAUP eon e isd) Rd 1 (ORR OmT a)

Source Extraction:
File System (2)

Source Info:
EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x1FA2485 (Table: message, handle; Size:
52322304 bytes)

106
of 42 Page ID #:770

iets aed
atom Ree ee air eC 8

Taamate) inte Mm tal—1e-\-m iL. (-m-Mat- lore }i0| me) m- [ent l-] a -1C- 10 (1M olele)-M-roM samara el- |e ealal ene Le
i dateyiy(-e (em |alemere)ealealital- aime (el-1-]am molto) ga|-mele\ (el 0(-)

Lar= 1 t(ei) ora BSI} ia eV =1e |

| Os nrelale om =r ln ale) a)

aN

CTL PAUP some LO ets Rele wat (ON LOT)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS .zip/root/private/var/mobile/Library/SMS/sms.db : 0x202DA87 (Table: message, handle; Size: 52322304 bytes)

mle)it et (oat =8)
ato)

AY M-T- Io Mol) (0) cal -W-la od o)ce)(--)(-1e-Mel-liale Mam lee) Uco(-\-e- B) Col dunl ine Mal Merl (Me) e) ele lacelaliay
aCo)mr- Lanter}

Vere ]at(el) r= a4 Bite} EN]

rt PAU pretest e)

TY ULens)

SSF lit mesloule
CUPL eee to On od (Ok Omr a)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS .zip/root/private/var/mobile/Library/SMS/sms.db : 0x203469D (Table: message, handle; Size: 52322304 bytes)

ets aed
ion edie leew m1e- lee Cet 8

Me lo)aha-\-1a carey Adak -\ Mollie Malle Mole la (al-1m(el| (eM ol Mel-lel- 11

Vere ]nte| oF a) DSS rte iat=re (| ae

| 1@5 are lale om =r lnale) a) cE PAU)

if
ma (CNR Omr a)

BS) 10a aor
CUT UAAU eee rome to od | (ORR Onr

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x2036F83 (Table: message, handle; Size:
52322304 bytes)

140
Case 8:23-cr-00100-CJC Document 97-5 Fi

aie) a Ce) in 8)
itm

Mol UTE SF lat- Me) t-(e. yi)

lar= 1a t(el) ofa BTV cre} intr [e| ator |

cL UPLO
ype}
dV (On kear A)

CID PAUP beep e od || ON OoT

Source Extraction:
File System (2)
Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x2036D20 (Table:
message, handle; Size: 52322304 bytes)

ace ed tem Ce) 7838)
ito |

PNB Ulla ean) OM Malta Mm -14clale malcolm Mel alco) cel \"/-1e)(- me) e-1-Mial- 1 sto]]0 o) am Comal le(e|-le-Me)g
big-\\ elem ie- (110 e)[-3)

ler=1at(ei| of 014 Broo} ate [are]

ee Tp toe te)

TN CKemr)

IE PAU ae bee obe rad | (ON Ome)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS .zip/root/private/var/mobile/Library/SMS/sms.db : 0x2036AEF (Table: message, handle; Size: 52322304 bytes)

cet) aed
aon eae) eae LB)

wT] ate laale lemme 1c leel-16)

lage |nt(@l] oye] a) BT Vor =e) ia<ere\e| mere

=| nelle
is )r= aero) a)

BS) | 0a Sar
CUE TOP oeeie Ole os (ORR Onr a)

Source Extraction:
File System (2)
Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x20364CE (Table:
message, handle; Size: 52322304 bytes)

141
Oof 42 Page ID #:772

iets aed
soya Re ee ade eC LD)

FB amare) (Mit iiC le lV eter lelele lm al lane or-\ lace -m ole) game) 1mm Comale) (| elle) o)(-Mal-Mal-le-1_y 4
iam a=

Lar= 1 t(ei) ora pyr re) meN =e)

| Os nrelale om =r ln ale) a)

BS) =| 0 omn aor]
CIC TAU oeeie On ad (On Oor ae)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS .zip/root/private/var/mobile/Library/SMS/sms.db : 0x20362B2 (Table: message, handle; Size: 52322304 bytes)

mce)ay ae em Ce) 78-18)
ao

BE Tol i (al -B-1-a alien o) (elele mom -\V/-1amere)an)®)c-1al-1alem Cal-Mar-1 (lee) m cal -meal-1fe(-1-)

ler= 1at(er] oF 1a Bice} ater [e| la eV =xe |

TP AUP moe U a be)

aN UKenA)

CIE PAU oe LO Eo ad (ON Omr a)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x2037F8D (Table: message, handle; Size:

52322304 bytes)

ete moat)
it)

mB at- WN (-5)(-1 a Ohm e-|NZ- NM tes“) NVM tn Dd Ler- 10-1 (nl al (er INVA am MANY al-1-ce Lm ol ol)
fos [F-al=s—fe Me) tala)

Ver 1at(e| osc) BSI} mate i=ze|

rf Ce PAUP Reed ba WA

aN UhKens)

oe) PAU Roce | (On eer a)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS .zip/root/private/var/mobile/Library/SMS/sms.db : 0x2084F8D (Table: message, handle; Size: 52322304 bytes)

142
92/24 Page 210f42 Page ID#:773

make
Nieen ease laeem =) eae Cen C1

7-1 eV -160 lala (MY aM ale Lagat 1<-s maa mto)al @ese)gat-Vialiae |-m] @)

lage pte] oye) a1 Drolet) inter \6| miley isx0)

| r The] PAN ae)

Siren ale) g) te jeer oc a)
en ken
tA)

PIPER: Sey BAe (OL LOme A)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x20B98BB (Table: message, handle;
Size: 52322304 bytes)

Som hf

cei

Boje! PROUACc aloo =) c= ltlalelem Cody ati 8)
mre ae Oty rTavetelae (Oi)
ions ;

mle) A e=aie

lege 1E(el| ore] a) BIS —te)

bo) | l ont
cS] PAO BO otod od | CO On A

Mo} Mo) d(ok-mei ay [ale ole @ me) are(-1e-)t-l ale (al-] em =A'/—1 a") Md A118 (alee L008)
(oiaVi late of-|0)(-\- Mal nc-1eil-1) \Vae-\-ce |e —le f=] (ro melalelgeamece) sa lanle ial. mn AU -M iM ol-[e.@

Vege nto] oye a BIN te| str \e| meio}

| Gs nr-laleom =e l8 ale) rhs] PLO)

ts eer Se: 5)
4 (CORR Omy

chs] PAP eae oe Pom Wd ON Oya)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x20B963B (Table: message, handle; Size: 52322304 bytes)

149
Filed 04/02/24 Page 22 of 42 Page ID #:774

iets aed :
aioe eae eee): eae Cd 1

EVV OM ale (e[-1e-M-lale Maal->d(er- lal)

lage 1nt(@| ofl a1 BTS onere| sere (0| EN i=1e|

| Fre lale=s ]

is )r= lace) a) rape Be Sa)
id CORO
A)

BS) | 0am Sor

UE PAUP aes cP oee1O od | Ont s)

Source Extraction:
File System (2)
Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x20B931A (Table:
message, handle; Size: 52322304 bytes)

aceite Ce) in =8)
ato ’

(efoto MiMi amee)alice) MM C-tol]

ler= 1a t(e) ofa By Vacs} intr [e| latex |

ve PAUP)
ts eer Stal
dV (On kOnr a)

Cc PAUP Reece eel a | (On LOor a)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SN db : Ox20BAF8D (Table:
message, handle; Size: 52322304 bytes)

et) aed ee
aie eater lelalelemced alg)

Teer mal) fo) at Wanlelg-mel—ler- 10 1-—-M (a- Wo) gS) ML ae) al meee (—

lee |nt(e| ofl a) BSW ionere mere}

| 1@} pr-laleom =) r-18 ale) 8)

loa |
a (On Oar)

CTS] PAUP ecco eer ad |) (Ok OoT A)

Source Extraction:
File System (2)
Source Inf

e Info:
Byleey ON_FFS.zip/roolprvate/varimoblel| nrary/SMS/sms.p : OxX20BAD4C (Table: message, handle; Size: 52322304
les

150
Case 8:23-cr-00100-CJC Document 97-5 Fi

xe) ba lam (o)wuat=s 8)
Aeon)

<= oleae diel male le [1g

Vere] at(ol) orc] a) DIV -ikose] acsr= 10} mare =3 |
Bi} Rishi
|

Uh nenyA)

bet ke PAUP aeons ON at ad i (ORO)

Source Extraction:
File een (2)
Source Info:

EXTRACTION_FFS .zip/root/private/var/mobile/Library/SMS/sms.db : 0x231C680 (Table:
message, handle; Size: 52322304 bytes)

ake) ae) am (ey 7ac=8)
Nhe

sa mS (lim iemjarele enc lm alm caliale mn sitam CN dl-16
Jers | aie] oy a) BIA airase| corse) EW is|
Lay PAN PAUP Ze)
2 beso 22]
mi enneers)

bs) PAUP oom wd (OR ROT)

EXTRACTION LE em db : 0x233AD2C (Table: message,
handle; Size: 52322304 b

ce )i ad
Koen eA lale=m LE lelaelem Lt =18

Mele) ai a -\Vc-lame)i- lene Mallelel-Mlsamelelelec- melo-|el—Jalle

laze at (el) er a BIS ire} str l6) eo)

| 1s aetna
iS) r= lane A)

SF | Nore e)
La) PAU) PLO PRM oMaree- toi ad \'/ | (ORR One|

Source Extraction:

File System (2)

Source |

EXTRACTION_| FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x233AABD (Table: message,
handle; Size: 52322304 bytes)

218
Page 24 of 42 Page ID #:776

cet
soya ete alow = 1E- teem 8

BB at-1c-S-M Lc memorel-1) 010 10a e-em -\-1 AV me La) Ze) gar 1a)

lage 1nt(@| ofl a1 Boers ater \e| meee}

| Fre lale=s
is )r= lace) a)

BS) | 0am Sor
ts) PAO) PLOPR Mo Role eol Mod |)/ (08 kOmr a)

Source Extraction:
File System (2)
Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x233A87B (Table: message,
handle; Size: 52322304 bytes)

iets ed :
aio Ree ee aie eee Lt 8)

Taaie-lelele im comaliel-linslele(-minlceoialie

lage 1nt(@| ofl a) BIST anere| inter (| mite}

J One lale Lay PAU) PAUP
iS) re Tan eA)

ty PAU PAUP eRe) ope LO at (ORL OoT a)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x233A635 (Table:
message, handle; Size: 52322304 bytes)

ce a aCe Uat 8)
stom

EST) ge] UL-)\Voxe) al-J(e(—1¢—10 i r-1 9) [gle Me uit- lam Celel- NV]

erento] ese a Boorse] Xer-0| id eV =xe|

$s) P20) PLO)
lopeslo bm Bi
ad COR O=y A)

a] PAU PLUM oko) ora OR Oor A)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS .zip/root/private/var/mobile/Library/SMS/sms.db : 0x233BF8D (Table:
message, handle; Size: 52322304 bytes)

219
Page 25 of 42 Page ID#:777

mce)ii ed
aioe) ease laeem =) eae Cen C1

(alm ploy o]U(i-\Vme (el a- Malle ler-|
Pvt lea aloe

BPs oe ema esi mal - (0

Some

ae Mdre td = Meee OE BY podi i koyealtt (an lin =181i.0 i) 0)2) 0. O1Ol B/N) =e yet) B18) 0S PB ee
oy PTs. st: 074°) 8) C MPa Ess Aa

(05010) DYN B) =a Erte) Bost) ie)

Lege 1a t(el) er a BIS ct} a<=r= (| ate =ie |

A
Sire Tne ee

BS) 10 Lo Care
to) PAU PLUM oela eel and) ((OnkOmr a)

Source Extraction:

File System (2)

Source Info:

ee FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x233BA87 (Table:
ssage, handle, attachment: Size: 52322304 bytes)

EXTRACTION. | FES. Zip/root/private/var/mobile/Library/SMS/Attachments/d9/09/CCCDADE1-

745D-40E0-92D1-C727A4E8C79D/IMG_2789.heic : (Size: 89181 bytes)

ce iimed am Ce) da( =a)
Koha

Ghalcmeyicesmer-\.-mant-lloMlaminl-m e-latiarem (ela-laleM Mar-(om-Wil-lameym@ (ela ole jallalem al-)meny-lm-la(e|
irl e)iate mi al-1e

tage |at(er orca BION ire] are =i]

5] SPU PAUP Moola a)

a ehkena)

bey 70) PAUP omalor toe al!) (ON ROE)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x233B7D4 (Table: message, handle; Size: 52322304 bytes)

Seah
trot ee am Cohwie=8)
oye
ke) le
tej} erie elem oir seem Ce [a8

L(nl-m ale\ival ol0(t-\Vme le) a-Malle let)
PNir loan oe

BU coe Cmea asim (e

SS TPAc Meche E SH

bye bre ii Miter OLE IB po IU toy eat Calin =t lst 627/052) @1 O11 B).\D) = ey e-ta) BE (8) 0 Bae
OF PTET =: O74") 8) | CMP aes Rae

fare lU Mm nto] 8,etsi

won Clam eteMme i maw Aller tm olel@ln)atelats\a ate PO 6D) PCePAl ter te Oram PA bee 1D)

Case 8:23-cr-00100-CJC Document 97-5

PRX) bah om Oe LOLs) 88)
rel

lege late] ore la Broce) <r (0 MI wd (= = |

5] boy PL0) P20)
(Gare -m alr lalele

RS) Foam ars 8]
La] PAU PLUM ool ame mos | (OBE Omr |

LI BL0 (ef)

Lee lB orc ale BIS r-te) Ls<cra\e] Lede ).10)
$a PAU PAU)
LoslemeL
a en R Ona)

$s) 740) PAUP eo omelo mele at (ON kOor A)

Source Extraction:
File System (2)

Source Info:
EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x233B4DB (Table:
message, handle; Size: 52322304 bytes)

ketal
Koa RCsie Nem ire ba Lelem edn aC=18)

feam—)htal—lmelo)alat- melo com- Mellel oMUitaMiiCig-lmaliele|-1e-Mal-1¢—E-] gle miaym come (-\ asa n(me|(o@-le le. (le me) ai ag)
refe}alat- melon alelen(-M-lnlemelgialg

lege 1B t(el] oy] a Boone) ater (| ed Ee \ 30}

| @5 p= late =m oir l8 lar) 8) ba) P28) PLO)
loeey eta

ey oie)
a On eer se)

BS) Fam nore 6]
sMol or2 0 oa! (OK Omr a)

Source Extraction:
File System (2)

ice Info:
EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x233B2B6 (Table: message, handle; Size: 52322304 bytes)

ee) is ad
a Kove ease lao = 1e- eae 1)

elo) ai \/-1p)ar- Me-| emo) Ceial—s-MelUl am el-m-fer-lalalialemial ceili im c-leealiat-lcolmialial dale m-leleleia-ls-Jer-1 ag
Hal bie Me-[e-movele| eo) [1

Lege ate) era Birt} mare i= |

sf 5 pte lale =m =)e- pleco) 8)

BS) 1 0 Loa oar
Lay PA0 POP ode) oe Lol al) (ORR OmTa)

Source Extraction

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x233CF83 (Table: message, handle; Size: 52322304 bytes)
Case 8:23-cr-00100-CJC Document 97-5

ie) ed am (oyun 38)
ieee)

soYo}0] aol. C-mig(-1k—M-] f—W-4-1 cell oles-}i\ i - Mele] (ere) pal)

lege nto] oral Ble NVsirsce | atctele| EN i=1e|
bey PAU) PAUP}
lapels oa ks}
aa (en kOnya)

bel) PAO Peo deal- pa hoe ad (ON ROTA)

Source Extraction:
File System (2)
Sout

irce Info:
EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x233CCC4 (Table:
message, handle; Size: 52322304 bytes)

i Peirce A OLem Ca LAB)

eo) a @'c- lant me-| elmo) icon Molla el-m-ier-lalaliale mia cealie
CB Teall are 1col me talial dare e-|elele iar tS10 1-11 a) mene K-[e—
fere] fo) [-3-)

lege lat iol] oye] a) BTS onse| Sor: (0 a ad f= =|

|
[@ray- alee) e- lao)

BS) r= | UU oam a ore 8]
Loy PA0) PLO Po besl be foe ea | (ON k Orr)

Br ahi-le)

erclut(el|orclaie BIST ionare| <== [0] mate i= |

bey PAUs PLO Pz
labels Zt
0 ROoT a)

Es) VA0) PAUP Acme wee. woe OR Rena)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x233CA38 (Table:
message, handle; Size: 52322304 bytes)
Case 8:23-cr-00100-CJC Document

eit a! ee) tt 8)
tom)

NIUE) Motc-(ol. (To Ul oe-lancal Mier | Mam cal manic lel (me) mam amelels

ler=1nt(el) orl a Bye) iste] mae \ |

| nxelene) ts) PLO) PAUP oats eel)
Oy 42) el a a On O=r a)

RS) elon
bo) PAU) PAUP o bess eee ot YON R Ones)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS .zip/root/private/var/mobile/Library/SMS/sms.db : 0x233C825 (Table: message, handle;
Size: 52322304 bytes)

meng a Ce) Un 8
Atom

ie (OL Lixelanm cele male) ia-1k- Mele me (e)alal-BIClL 4 a

ieee 1utel] oye] al BSN rte cree) mate iias0}

xereee) ts) PAI PAU omer te)
er z-) on Le enemy a)

Boro ela
sO PAUP Baler occ OY (ON Ona)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x234D6D0 (Table: message, handle;
Size: 52322304 bytes)

cet ad
oye ei Neode- eee) LB)

<= ale) 0g)

ere 1 at(e) ora BT= Vir =e) ister (0| aE i=re|

J One lale = a) Pa PAU
s)r-la ee) a)

BS) r= | 0 Loom ear

tPA PAUP ee ober seed aes (OR Oor

Source Extraction:
File System (2)

Source Info:
EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x234D44F (Table:
message, handle; Size: 52322304 bytes)

223
Case 8:23-cr-00100-CJC Document 97-5 Fi

aie) a aCe) Vin s8)
itm

MATa)

ler=at(ei) ora BTV cre} intr [e| ator |

bs) Pa PAUP)
[yee tome)!
(On kOnr a)

IVA PAUP Moco Oe | ONO a)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SN db : 0x234D25B (Table:
message, handle; Size: 52322304 bytes)

i
oye CAAA =m =) e- haemo) ALi 8)

-T- lam ea a lele ee laco me Meal ialel ct)

lage |nt(@l] oye] a) BIS cere| ia<ere\e| EN}
7 tay PUY
re]

S)e- 1a ale) a)

BS) | 0am Sore

ty Pa PAUP cree Lol ad (OR OmT A)

Source Extraction:
File System (2)
Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x234EF83 (Table:
message, handle; Size: 52322304 bytes)

cet aed :
aioe einem): ead C1)

Li Ve-1 | \Waexel 0 fo Mmm Z- 10) Crem Com al—-lmUlali aim ole ]e)| (om lalce)

lae-1nt(et| ofl a) BTS ior=e| stare [| ma eN ae

J Orr lale ts) Pa PAUP

iS) re lane a) Wes Ges
men ken
8)

BS) r= | 0am aor

IVA IVAW Rome Leo ot | (ORL OET A)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x234ED63 (Table: message, handle;
Size: 52322304 bytes)

224
Case 8:23-cr-00100-CJC Document 97-5 Fi

ce) aed am Colvin 8)
ito)

BTol Sa am a-m oe) fel. c me) mem alele dale}

Lala t(e) esa) Bre} intr e) EW ire]
Pa PAW)
elon
a en kenya)

RS) esl
tPA POP oon On (Ok Omr se)

Source Extraction:
File System (2)
rce Info:
EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x234EB19 (Table:
message, handle; Size: 52322304 bytes)

i
aon RCI ire eee Cely a8)

Melo) ah a tale) Am mele) ame alinl @-ial- mnt l ag (-1e B

lage |nt(@l] oye] a) BSc ae| mere

“|
is )r= aero) a)

BS) | 0am Sore
ta) PM PLOY oe oA oo |) (ON Oma)

Source Extraction

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x234E8B4 (Table:
message, handle; Size: 52322304 bytes)

eit! em Ce) Uap)
ao

Le -1eme-J6) oL-Va le) e-maco)(-1e-1 (ale mal MM Calter lea | (ome-F- -l at -] me) male jer-larem co) irl ale mi

ler=1at(el| ere 1a DIO -re] str e) la =x |

| VAI PAUR Roel o)

SN UKems)

toy PM PAUP clo toe ad | (OL OoT A)

Source Extraction:
File System (2)
Si info:

jource Info:
EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x234E67E (Table: message, handle; Size: 52322304 bytes)

225
Case 8:23-cr-00100-CJC Document 97-5

ace ae aCe) 7a =8)
itm)

ate |Costeat-Jalme)m tal meal lic laa e- lice ela)

ler= 1a t(el] ore la Brora) cre le| ei]
Pa PAUP)
elec
ae ROor a)

IPM PAUP Roe loot md (OR OoT a)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x234E3C8 (Table: message,
handle; Size: 52322304 bytes)

i
a ola} Reiter lene) ALB)

Sy aT -SM he N= LN OS®) OM os | me) al 1em (o) ode)

lage |nt(@l] oye] a) BSW iorare| str Le) me Nie]

“|
is )r= aero) a)

BS) | ean S or
to) PM PLO Pee Mole look M ws |) (08 Ona)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x234FF83 (Table: message, handle;
Size: 52322304 bytes)

ei a eC) 8)
aio

iN fe fet Melo) am a alin qa)

ieee lnt(el| erclalg IST) acer le] mere}

ba) PAT PAUP)
lacy me y f
dV (On kenya)

IPA PAUP nocd Mt a (OR OoT a)

Source Extraction:
File System (2)
Source Info:

rce Info:
EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x234FD3B (Table:
message, handle; Size: 52322304 bytes)

226
iled 04/02/24 Page 32 of 42 Page ID #:784

cet
soya ete alow = 1E- teem 8

Team oct le MCMC Me Leuce lire mM callale)

lage 1nt(@| ofl a1 Dyan ee| ia<ere[e| meio
| Fre lale=s a) Pa PLO

is )r= lace) a) 3)
Lee Y fou be]
aa ONL)
A)

ty Pa PAUP ood oa bod | (ON ROTA)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x234FAF6 (Table:
message, handle; Size: 52322304 bytes)

ait! Cena =38)
oo

Bhar 1M /ar-1 e010) g-s- VeolOla at-\ amet laa (-1aee)m

fare lat(e eral BV} Store| ld EW =xe |

| xelecie) PAI PAUR Roe oe)
Oy 22) OE Venn Onr a)

BS) elon
Ls PM PAUP Mo ecd ores we |) (ONO)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS .zip/root/private/var/mobile/Library/SMS/sms.db : 0x234F8C8 (Table: message, handle; Size:
52322304 bytes)

et) aed
aioe Re ee air: eC 8

oll ale yatjal-mevelel(emel-lar- WZ NUL am lene alia Cm nme) aad)

lee |nt(e| ofl a) BIN are) aXore [| me 10]

| 1@} pr-laleom =) r-18 ale) 8)

BS) Fem nore)
ta) PAPO ey beets od | (OR Omr a)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x234F634 (Table: message, handle; Size:
52322304 bytes)

227
Case 8:23-cr-00100-CJC Document 97-5 Fi

aie) a Ce) in 8)
itm

NAV=11 Bh = ao) ah Lot nal Cer~l Var Le T- laa cre fs

lar= 1a t(el) ofa BTV cre} intr [e| ator |
PAT PAUP

[ae tay
dV (On kear A)

ty PAUP ocd col md (OR OmT A)

Source Extraction:
File System (2)

rce Info:
EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x234F3D9 (Table:
message, handle; Size: 52322304 bytes)

i
aon RCI ire eee Cely a8)

J aT ofe}-) (To Mal—lmele-le (01-1 ((e]amice) samy at-1(-\1-1m (eo) o-Letg tele)

lage |nt(@l] oye] a) By on=e| ater [| ey =e}

“|
is )r= aero) a)

BS) | ean S or
LPM PAUP obey tole Mod" (O NR One)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x2350F 83 (Table: message, handle;
Size: 52322304 bytes)

Roe es (orites)
soya)
1M at-\"(-male) (ferro r-la me] diel aaa ttnahvar-(e Mi d1miVe tt lam amin lenm ele] maleal-meo)mcal-ltam-1e- Male slale|

F-1 co) ] To LC) a -me [el-\- a ee |) aT 1  e) oO

Ler= 1 at(e] or 014 Tore} ae {=z |

| PAI PAW Boer 10010)

= OKemrs)

LIP PAUP oes eld | (On Omr a)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS .zip/root/private/var/mobile/Library/SMS/sms.db : 0x2350A95 (Table: message, handle; Size: 52322304 bytes)

228
Case 8:23-cr-00100-G

Lad em lV a8)
ito

allel Qi nlc - MeL ae-(aC- IO Malic Aceh Lalem ) cole) e-lna me ryiale melee) @ fe] td mvele (om al —t-1 9
Fletole mi malar Ng

Ler=]at(er] oy 10) BTS r=s} mate]

| PA PAW oe TG

= OKenrs)

SSF’
bs PA PLU oe: LOA oe od (UN Ones)

Source Extraction:
File System (2)
Sou

ice Info:
EXTRACTION_FFS .zip/root/private/var/mobile/Library/SMS/sms.db : 0x2350765 (Table: message, handle; Size: 52322304 bytes)

cei ed
oye Ree ee aie eee te)

ate} CoM (Ua LC - ole lato ame) moon lc-\- me) mam -1 fo) mle mama

ler= 1 at(e) ora DIS =te) ist=r=[e| EW ioe

| 5 prelate om oie lene) 8)

BS) | NL a Sor |
ta) PM I PLUP Roe OP oe (ON Ona)

Source Extraction:

File System (2)

Source Info:

Byteey TON_FFS zipfroolprvate/varimobielIbrary/SMS/sms.ip : 0x235046B (Table: message, handle; Size: 52322304
les

eit a! aCe) Ut 8)
om

SVU ly o)at-s-1e B-to)aal- walle let- jamal ie-r-le\Vmele) alm inl)

lee 1ut(el| oye] al BIS aire) ister [e| mae}

;| PAP)
was
men Keeys)

ts) PAUP oe Pe i OOo)

Source Extraction

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x2351F8D (Table: message,
handle; Size: 52322304 bytes)

229
Filed 04/02/24 Page 35 of 42 Page ID #:787

mce)ii ed
a Kove ease laeem =) eae Cen C1

iy ats \ a 19) ae a)

lage pte] oye) a1 BIST an ete} acer (8| mW Lore}
a 1O} pre laler=s bel PM PLO
i)

sire ae) 8) i
lah BeBe o)
ea CONE Os
iy Ay

SPM PAUP aoe eet od COROT a)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x2351D20 (Table:
message, handle; Size: 52322304 bytes)

aie aed ee
a eye! Reales =m le leleleem Ce tig)

Yat at- Mi) le me) os-s—Lemt- | a1

Lez= at (el) er al BST} inX=r-(0] t= |

J 15 are laless tay Pa PAUP
5

iS) r= 1a 1B eA)

BS) Fam gore 6)

boy PA PAUP como eeelo mod COROT A)

Source Extraction:
File System (2)
Source Info:

rce Info:
EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x2351B1C (Table:
message, handle; Size: 52322304 bytes)

meet aed am (o\Wint 8)
ao

Syel-Tel 113

Vere | gt(er| orel a Bre TW =re| atcr= [0] mare i=xe|

pape)
ee set
aU ehkenra|

po Pa PAUP eae tomelem od (ON Orr)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/ bile/Library/SMS/sms.db : 0x2351900 (Table:
message, handle; Size: 52322304 bytes)

230
Case 8:23-cr-00100-CJC Document §

meas ae mune)
io

La f-lom Com-tece) Mialcolece]amal-lmmlalielar-liare Mm o-le(-m om i alem (al- le

fare ate) ofa Bia te} iXcrele| mae \ Le]
PAPA Moke tebe) 0)

a COM ROnr a)

tI Pa PAUP eee todo ad | (ORL OoT A)

Source Extraction

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x23516E3 (Table: message, handle;
Size: 52322304 bytes)

ceed ame) Ut 8
aoe

AV ar-\ cat miele a lace Mem ar- ln eS laa NE)

ere Tue] ere a) Bio r—r6| iorle| Ease}
bs) PA PAU)
Lape tabtel a]
en keor a)

IPA PAUP Leela (OR LOoT a)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS .zip/root/private/var/mobile/Library/SMS/sms.db : 0x235146C (Table:
message, handle; Size: 52322304 bytes)

ets aed
ale eat alow m1E- teem Ce t= 8)

elo) ah a caro) am tame) ine mom e-|el-Mal-lm come (-1-1U8)

lar 1nte| oF a) BION e) stare] me ae

af Oe lale iP TPO,
is) re Tae eA a

BS) Fem nore)

IPM PAW OB (OOo a)

Source Extraction:
File System (2)
Source Info:

rce Info:
EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x2351203 (Table:
message, handle; Size: 52322304 bytes)

231
Case 8:23-cr-00100-CJC Document 97-5 Fi

Teeny eluates)

ed (=Yo1-3- ee)

Vere] at(ol) orc] a) BT Tirre| nsx (0] tere)

ba) Pa PAN
[se Ye
2 (ORR Oar a)

bel Pa PAUP Moe foe 10 wa | (On Ora)

Source Extraction:
File System (2)

rce Info:
EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x2352F8D (Table:
message, handle; Size: 52322304 bytes)

mee
Keyan ee eee ale lelnelam cenit -18)

Pvt eagle

Soa oe a
CML E Mier SLE Beate ea al er Par SOB) eh eek tae
ag 8)B) 101 D) Ba) B) Be) nee ee OTe 1 Keen Bele te) Bl
Ler ULL OL] 8a
ele Cala ale tem flare ee RAE ES USSSA UB CUP PU ON Es apse” 710] By Ves
Sue EO DPSS} (8/0)
aed Mle) E=|
Pla yb) 8)

Dee RE Sa aia

lege nto] oye a1 Bean er0| a<ore(e| meat}

a Gs nye lale= 1 pL0y2

sire lacey a)
ba.

ie

LPM PAUP soo eay ore od LOR OoT

Source Extraction
File _— 5)
Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x2352B23 (Table:

message, handie, attachment; Size: 52322304 bytes)

EXTRACTION_FFS .zip/root/private/var/mobile/L ibrary/SMS/Attachments/87/07/B5492134-

a eee: ~1FD7-4CB3-A722-D595B1495EFB.heic :
ize:

mice) is bad ame) (Unt =8)
aoe

NAV aTes qa

LerelAt ce] orclal BIST Latzx-\e| mc Nioe)

IPA PAUP)
eeeV ats s
dV AON Oar A

So) Pa AUP soe oo aor md (ORR Oor A)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS .zip/root/private/var/mobile/Library/SMS/sms.db : 0x23528BB (Table:
message, handle; Size: 52322304 bytes)

232
Case 8:23-cr-00100-CJC Document 97-5 Fi

any (Co) iets 0)

PNir losis

aio emer Tee)

bs] PA Mam bss eo)

UMA UL Pr OER AS UII LM AUN a ees OMe ere Oa | Pte) aelat cle) Bereta 10,0

yg Ok yA Disr 18°) || CMPeLe Wie)

Laee lie Mm NLUtOS EL SLD

Croll CUulale ete Mme li\) |B) at ttePae.t') ey oe@sit (eae ts BIA MLN itt LBP tas) eek 10. U a (01:0)
[Os SPAS oy Vat tak VAhel ty OE Tero) Nit)

rd MOLE IB URSIN SPAN Ce MEL ALOU PALO Ps holon SeLOM Em) ate) me) nue mie) Baral = 16)0 8
ic) ise]

lae-lntel] ercaig Drones | ators le] id CoN =10 |
bs Pa YPAO 28)
[syeae pre
aN COR Rey A)

tl Pa PAUP n ono acm ad || (ON RCTs)

Source Extraction:
a ne (2)

EXIRAC RACTION, FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x235269C (Table:
ttachment, handle; Size: 52322304 bytes)

EXTRACTION | FFS. Zip/root/private/var/mobile/Library/SMS/Attachments/32/02/6843C1 BA-

6E6A-446D-AB00-2F037ED54D69/IMG_2244 jpg : (Size: 118936 bytes)

meth
Kean eaLe ale =m alkane em Cen Lt 8)

fe (ol-m tal ome) 84

Lege 1a t(el] oF] a Brice) <= [6) mae Lore |

| alate

1S) ec 1a ae) a

BS) 0 Li 8 Car)
PAR amar toh (OnE O=r a)

Source Extraction:
File System (2)
Source

Info
EXTRACTION_FFS .zip/root/private/var/mobile/Library/SMS/sms.db : 0x2352434 (Table:
message, handle; Size: 52322304 bytes)

etd tem (elv7a1=8)
ieee
WAat- 1am uy - m1) el t-(er «el al-Walie(e(-\g0) ele) |t-we|-t- MZ al-1e-mia(-\ Vali aston Malcom (al-m-le Lb loNitc-1ge|

a talales=) (1 (er Lalo tna dm Ob r= Ge] Sr

beg laiter| exci BTS (car ase] matey Lox]

| PA PAW oak els)

tN Onoers)

Slt sabes
IPA PAUP amo melee od) (ONE Omr A)

Source Extraction:

EXTRACTION |_FFS .zip/root/private/var/mobile/Library/SMS/sms.db : 0x2353F8D (Table: message, handle; Size: 52322304 bytes)

233
Case 8:23-cr-00100-CJC Document 9

ma) )

mceyt) ba 1am Coy intB)
iio ’
aie)
a Koya egies =m = e- 1B aleLAm Cel C= 8)

fo[ol-S-mh ia) mn ce)

Ver= 1at(oi] 8y= 1a) DSI r re} eter [| id {=x |

af Os are 1aler bola TAN

1s) e- 1a TB eg) Riomek et)
mon nen
8)

te) PM PAUP moose to at || (ORR OoT A)

i ale) of-we-coml olU ial meole}aialii(-mac-t-lmal(ele(-1e-m-\em me le)ala (are)

ieee la tC) eye a) BY =i =1 0-38} Epterel| laa Fe \Aex8|

co) PL PAU Pe Boor oe be)
Cenk Ory e)

ta PAO omer oa koe ad (ORR GrT a)

Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x2353C69 (Table: message, handle;
Size: 52322304 bytes)

Sm A) NI

JZ as
a oye PRCoACc Ale =m k= blaLelem Cn at =18

cet ave lalem oF: am) Vn 8)
itom ;

AV at=\ amd -ms-1| Me) (let ce) ai Malle le|—1ge) ele) Me (-Y- Nd a(-1k-m (al \ar- || eale)c-Mlalcom cal)
Yo [Ufo MZ T rota] ales-i¢-)(—ar-1nle alam OL6L- UO)ESr|

lage 1a oy: = Nea tare mre are)

mY
i

S11 oal

els asi (ORR Orr a)

ed (at0 smal Silla) (em OL@) NMI | i OM Le) ol 61-1 (Te meolal\vmoyme)(-(oL@ dale -M- lace mel 6(-\-1ar-).

lant lel] oye a1 BI Nc) mde {=re|

of Oh arelareom =ir-lelaleya|

Bo) NL aor]
er aN

tol Pa PAPA oso SP2- 8 od | (OR ROT)

Source Extraction:

File System (2)

Source Info:

Se Orr EN aaa RON ary Sacre : 0x23539C1 (Table: message, handle; Size: 52322304
les

234
Case 8:23-cr-00100-CJC Document 9

miei
aioe! rab lala =k: lalale) a] royals)

PN aloe

Te

~

apis St i A eatin tine ei etal

iS] Pa bales Oe

a=W are Lil Miter | MOLE BY po di ihoyealte (tli tlie lol| 0 0)/ ate ol ad mt) ds oe ee a)

Pr Ne Hie PALO PAU SRE lM OH Pata tP100 Or 1B)s-taaleckLise*)afAsts lB) ae taal (e

eee EMAL eS Oba

els Cae OMne UN =e Wht er tmslel@s)stelatsini sete UM ED) VAePA0 0 s/t Ort. Pe eee Dl) U ed
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Source Extraction:

File System (2)

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EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x23534D5 (Table:
message, handle, attachment; Size: 52322304 bytes)
EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/Attachments/96/06/4F 1 FEEOB-
2FE7-411F-A15E-2A59A81E1A0C/70641331065__C81A5020-C4DB-4E58-834B-
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message, handle; Size: 52322304 bytes)

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EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x2353750 (Table: message, handle;

Size: 52322304 bytes)

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EXTRACTION_FFS .zip/root/private/var/mobile/Library/SMS/sms.db : 0x2354AB1 (Table: message, handle; Size: 52322304 bytes)

236
Case 8:23-cr-00100-CJC Docume

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EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x2354573 (Table:
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Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x2354371 (Table:
message, handle; Size: 52322304 bytes)

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